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                         UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF INDIANA
                               EVANSVILLE DIVISION

IN RE:                                             IN PROCEEDINGS UNDER CHAPTER 7

CATHERINE AILEEN WHITNEY                                       CASE NO: 18-70871

       DEBTOR                                           JUDGE: BASIL H. LORCH, III

                   MOTION FOR RELIEF FROM AUTOMATIC STAY
                       AND ABANDONMENT OF PROPERTY

       Comes now U.S. Bank National Association, as indenture trustee, for CIM Trust 2016-4,

Mortgage-Backed Notes, Series 2016-4, a secured Creditor in the above captioned proceeding,

by counsel, and respectfully moves the court to terminate the automatic stay imposed by 11

U.S.C. § 362 to enable Creditor to foreclose its mortgage and otherwise exercise its contractual

and state law rights as to the following real property: 5619 North State Road 57, Petersburg, IN

47567 and for an order directing the trustee to abandon, or otherwise declare as abandoned from

the estate, 5619 North State Road 57, Petersburg, IN 47567, and as basis therefore states as

follows:



       1.      On August 10, 2018, the above named Debtor, Catherine Aileen Whitney a/k/a

Catherine A. Whitney, filed a petition pursuant to Chapter 7 of the Bankruptcy Code.

       2.      U.S. Bank National Association, as indenture trustee, for CIM Trust 2016-4,

Mortgage-Backed Notes, Series 2016-4 is the holder of a secured claim with an approximate

outstanding balance of $62,351.19 with interest according to the note as of August 14, 2018, plus

late charges and attorney fees. Said claim is secured by the real property located at 5619 North

State Road 57, Petersburg, IN 47567, and more particularly described in the mortgage, a copy of

which is attached hereto.
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          3.    The above described mortgage was given to secure a Note dated January 24,

2003, by the Debtor to American General Financial Services, Inc., in the principal sum of

$73,167.00. A copy of the endorsed Note, Mortgage, and Assignments of Mortgage are attached

hereto.

          4.    The Debtor’s last payment was applied to the September 1, 2017 payment.

Debtor is due for the October 1, 2017 payment and all subsequent payments, in the amount of

$6,931.02 (9 payments at $614.69 per month, 1 payments at $701.51 per month and 1 payments

at $697.30 per month), plus late charges, court costs and attorney's fees, along with additional

fees and advances.

          5.    Per Debtor’s schedules the subject real estate is valued at approximately

$30,000.00.

          6.    Claimant has reason to believe that there is little or no equity in the subject real

estate.

          7.    Per Debtor’s schedules there are no other encumbrances on the subject real estate.

          8.    Per Debtor’s schedules she intends to surrender the subject real estate.

          9.    The failure of the Debtor to make payments, the stated intention to surrender, and

lack insufficient equity to secure Creditor’s interest, allows no protection of the interest of U.S.

Bank National Association, as indenture trustee, for CIM Trust 2016-4, Mortgage-Backed Notes,

Series 2016-4, within the meaning of § 362 of the Bankruptcy Code.

          10.   Nationstar Mortgage LLC, d/b/a Mr. Cooper, services the loan on the property

referenced in this motion. In the event the automatic stay in this case is modified, this case

dismisses, and/or the Debtors obtains a discharge and a foreclosure action is commenced on the

mortgaged property, the foreclosure will be conducted in the name of U.S. Bank National
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Association, as indenture trustee, for CIM Trust 2016-4, Mortgage-Backed Notes, Series 2016-4

(hereinafter “Movant”). Movant, directly or through an agent, has possession of the promissory

note. Movant will enforce the promissory note as transferee in possession. Movant is the

original mortgagee or beneficiary or the assignee of the Mortgage.


         . WHEREFORE,      U.S. Bank National Association, as indenture trustee, for CIM Trust

2016-4, Mortgage-Backed Notes, Series 2016-4 respectfully requests that this Court issue an

Order:

         1) terminating the stay as to 5619 North State Road 57, Petersburg, IN 47567 and U.S.

            Bank National Association, as indenture trustee, for CIM Trust 2016-4, Mortgage-

            Backed Notes, Series 2016-4, to permit said secured creditor to take any and all

            actions necessary to accelerate the balance due on this obligation, to foreclose its

            mortgage, to sell the property in accordance with state law, to apply the net proceeds

            to this obligation, and to otherwise exercise its contractual and state law rights at to

            the following real property: 5619 North State Road 57, Petersburg, IN 47567.

         2) abandoning from the estate: 5619 North State Road 57, Petersburg, IN 47567, and

            order the trustee to abandon the property as burdensome and of inconsequential value

            or benefit to the estate,

         3) waive the fourteen (14) day stay as provided for by Rule 4001 (a) , and
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     4) for all other relief that is just and appropriate.

                                                     Respectfully submitted,


                                                     /s/ Jason E. Duhn
                                                     Jason E. Duhn (IN-26807-06)
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                                 CERTIFICATE OF SERVICE

        Certifier certifies that it has served a copy of this Notice by ordinary U.S. mail or served
electronically through the Court’s ECF System on this 22nd day of August, 2018, to the
following entities:

Catherine Aileen Whitney a/k/a Catherine A.
Whitney
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U.S. Trustee
101 W. Ohio Street
Suite 1000
Indianapolis, IN 46204


                                                      /s/ Jason E. Duhn
                                                      Jason E. Duhn (IN-26807-06)
                                                      Shapiro, Van Ess, Phillips & Barragate, LLP
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